Case 2:04-cv-02282-.]DB-dkv Document 38 Filed 08/31/05 Page 1 of 2 Page|D 43

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FOR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVIsIoN 05 AUG 31 pH 3, 59

~. D.C.

 

JIMMYRICO P]GRAM, by and through his
next friend (mother), LINDA PIGRAM; and
LINDA PIGRAM,

 

Plaintiffs
CASE NO. 04-2282-3/\/
vs.

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l JURY DEMANDED
MEMPHIS CITY SCHOOLS, CITY OF l
MEMPHIS, OFFICER R. CHAUDOIN, and |
other individually unnamed officers with the |
MEMPHIS POLICE DEPARTMENT, ll
|

Defendants

 

ORDER GRANTING MOTION FOR LEAVE TO FILE
REPLY MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT
BY DEFENDANT, OFFICER RUSSELL CHAUDOIN

 

lt appearing to the Court that Off`lcer Chaudoin`s Motion for Leave to Fi]e Repty
Memorandum in Support ofMotion for Summary Judgment is Well taken, it is therefore GRANTED.
The Clerk is instructed to file Offrcer Chaudoin’s Reply Memorandum in Support of Motion for
Summary Judgment, as attached to his Motion for Leave to File Reply Memorandum, in the record
of this case.

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It is so ordered this the l da of

2005.

 
   

 

 

A IEL BREEN \_
IsTRr_CT coURT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:04-CV-02282 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

